        Case 1:15-cv-00732-MMS Document 121 Filed 01/31/20 Page 1 of 1




           In the United States Court of Federal Claims
                                           No. 15-732C
                                    (Filed: January 31, 2020)

*************************************
TEJERE J. AKPENEYE et al.,          *
                                    *
            Plaintiffs,             *
                                    *
v.                                  *
                                    *
THE UNITED STATES,                  *
                                    *
            Defendant.              *
*************************************

                                            ORDER

        On July 15, 2015, plaintiffs—Pentagon Force Protection Agency police officers—filed a
complaint in which they allege entitlement to overtime compensation for various activities. The
parties subsequently agreed to bifurcate the litigation; they would first select a group of sample
plaintiffs and litigate those officers’ claims. On December 19, 2019, the court dismissed the
claims of the sample plaintiffs and requested that the parties propose a process for adjudicating
the remaining plaintiffs’ claims. On January 31, 2020, the parties filed a joint status report in
which they agreed that the appropriate action for the court to take is to dismiss the remaining
plaintiffs’ claims and enter judgment for defendant with respect to all of plaintiffs’ claims.
Accordingly, the court DISMISSES the remaining plaintiffs’ claims and DIRECTS the clerk to
enter judgment accordingly.

       IT IS SO ORDERED.

                                                     s/ Margaret M. Sweeney
                                                     MARGARET M. SWEENEY
                                                     Chief Judge
